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                     UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF TENNESSEE - WESTERN DIVISION

   State Farm Fire and Casualty Company
   as subrogee of Talus Properties, Inc.
   and Melrose Midtown, LLC
         Plaintiﬀ                                        C.A. 2:19-cv-2330-JPM
   v.
   Jose Alfredo Sandoval
         Defendant
   and
   Talus Properties, Inc. and
   Melrose Midtown, LLC
         Plaintiﬀ
   v.
   Jose Alfredo Sandoval
         Defendant

                            Joint Motion to Amend Scheduling Order

   All parties believing it to be necessary, they now request that the Court extend the
   deadlines contained in the current Scheduling Order [ECF No. 27] sixty days. Two main
   reasons for this request. First, the parties remain engaged in an ongoing, joint mediation
   with Talus Properties Inc. v. State Farm Fire and Casualty Company (No. 2:19-cv-02457-
   MSN in this Court) and, to some extent, have deferred discovery in the good faith belief
   that they can resolve this matter. And second, the unprecedented and unforeseen eﬀects
   of the COVID-19 outbreak have slowed aspects of discovery considerably.
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      Monday, April 20, 2020       Respectfully submitted,
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                                    Certiﬁcate of Service
   I hereby certify that on Monday, April 20, 2020 that I served this document through the
   Court’s electronic ﬁling system and by electronic mail to the following counsel of record
   through the following e-mail addresses:

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                                        By: /s/ Michael A.     Durr
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